     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 1 of 18 Page ID #:695



 1 GEORGE S. CARDONA
   Acting United States Attorney
 2 CHRISTINE C. EWELL
   Assistant United States Attorney
 3 Chief, Criminal Division
   JOHN J. LULEJIAN (Cal. State Bar No. 186783)
 4 SHAWN J. NELSON (Cal. State Bar No. 185149)
   Assistant United States Attorneys
 5 Violent and Organized Crime Section
        1500 United States Courthouse
 6      312 North Spring Street
        Los Angeles, California 90012
 7      Telephone: (213) 894-8603/5339
        Facsimile: (213) 894-3713
 8      E-mail:   John.Lulejian@usdoj.gov
                  Shawn.Nelson@usdoj.gov
 9
   Attorneys for Plaintiff
10 UNITED STATES OF AMERICA
11
                           UNITED STATES DISTRICT COURT
12
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14    UNITED STATES OF AMERICA,          )   CR No. 07-1142-VBF
                                         )
15                     Plaintiff,        )   GOVERNMENT’S POSITION RE:
                                         )   PRESENTENCE REPORT AND
16                   v.                  )   SENTENCING FACTORS FOR
                                         )   DEFENDANT MICHAEL LYNN TWYMAN
17    CHARLES LEROY TWYMAN,              )
           et al.,                       )   DATE: November 9, 2009
18                                       )   TIME: 11:00 a.m.
                    Defendants.          )   PLACE: Courtroom of the Hon.
19                                       )          Valerie Baker Fairbank
                                         )
20                                       )

21         Plaintiff, United States of America, through its attorney of

22 record, the United States Attorney’s Office for the Central
23 District of California, hereby files the Government’s Position
24 re:     Presentence Report and Sentencing Factors for Defendant

25 Michael Lynn Twyman.        The government’s position is based upon the

26 concurrently-filed memorandum of points and authorities, the
27 \\
28 \\
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 2 of 18 Page ID #:696



 1 files and records of this case, the Presentence Report, and any
 2 evidence or argument presented at the hearing in this matter.
 3
     Date: October 28, 2009       GEORGE S. CARDONA
 4                                Acting United States Attorney
 5                                CHRISTINE C. EWELL
                                  Assistant United States Attorney
 6                                Chief, Criminal Division
 7
                                  /s John J. Lulejian
 8                                JOHN J. LULEJIAN
                                  SHAWN J. NELSON
 9                                Assistant United States Attorneys
                                  Violent & Organized Crime Section
10
                                        Attorneys for Plaintiff
11                                      UNITED STATES OF AMERICA
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          2
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 3 of 18 Page ID #:697



 1                               TABLE OF CONTENTS
 2                                                                          PAGE
 3 Table of Authorities .. . . . . . . . . . . . . . . . . . . .               ii
 4 I       INTRODUCTION.. . . . . . . . . . . . . . . . . . . . . . . 1
 5 II      FACTS. . . . . . . . . . . . . . . . . . . . . . . . . . . 1
 6 III     FACTUAL CORRECTIONS TO PRESENTENCE REPORT. . . . . . . . . 2
 7 IV      SENTENCING RECOMMENDATION. . . . . . . . . . . . . . . . . 2
 8         A.    Legal Standard. . . . . . . . . . . . . . . . . . . . 2
 9         B.    Government's Recommendation.. . . . . . . . . . . . . 4
10               1.   Sentencing Guideline Calculation.. . . . . . . . 5
11               2.   Section 3553(a) Factors. . . . . . . . . . . . . 6
12                    a.    Nature and Circumstances of the
                            Offense and History and Characteristics
13                          of Defendant .. . . . . . . . . . . . . . . 6
14                    b.    Need to Reflect the Seriousness of the
                            Offense.. . . . . . . . . . . . . . . . . . 8
15
                      c.    Deterrence of Criminal Conduct .. . . . . . 8
16
                      d.    Need to Protect the Public .. . . . . . . . 8
17
                      e.    Need to Provide Defendant with
18                          Education.. . . . . . . . . . . . . . . . . 8
19                    f.    Need to Avoid Unwarranted Disparity in
                            Sentences.. . . . . . . . . . . . . . . . . 9
20
                 3.   Other Factors to Consider .. . . . . . . . . .           10
21
           C.    Probation Office's Recommendation.. . . . . . . . .           11
22
     V     WAIVER OF APPEAL.. . . . . . . . . . . . . . . . . . . .            11
23
     VI    CONCLUSION.. . . . . . . . . . . . . . . . . . . . . . .            12
24
25
26
27
28

                                          i
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 4 of 18 Page ID #:698



 1                             TABLE OF AUTHORITIES
 2 FEDERAL CASES                                                         PAGE(S)
 3 Ellis v. United States Dist. Ct. for W.D. Wash.,
        356 F.3d 11986 (9th Cir. 2004) . . . . . . . . . . . . . . 3
 4
   In re Morgan,
 5      506 F.3d 705 (9th Cir. 2007).. . . . . . . . . . . . . 3, 4
 6 United States v. Bride,
        2008 WL 2782688 (W.D. Wash. Jul. 14, 2008),
 7      aff'd, 581 F.3d 888 (9th Cir. 2009). . . . . . . . . . . . 4
 8 United States     v. Cieslowski,
        410 F.3d     353 (7th Cir. 2005) . . . . . . . . . . . . .          3, 4
 9
   United States     v. Garcia,
10      522 F.3d     855 (9th Cir. 2008) . . . . . . . . . . . . .          3, 4
11 United States     v. Guerrero-Velasquez,
        434 F.3d     1193 (9th Cir. 2006). . . . . . . . . . . . . . . 9
12
   United States     v. Hunt,
13      459 F.3d     1180 (11th Cir. 2006).. . . . . . . . . . . . . . 9
14 United States v. Pacheco-Navarette,
        432 F.3d 967 (9th Cir. 2005).. . . . . . . . . . . . . . . 4
15
   United States v. Samueli,
16      575 F. Supp. 2d 1154 (C.D. Cal. 2008),
        dismissing appeal, ___ F.3d ____,
17      2009 WL 3030381 (9th Cir. Sept. 24, 2009). . . . . . . 3, 5
18 United States v. Smith,
        445 F.3d 1 (1st Cir. 2006).. . . . . . . . . . . . . . . . 9
19
   United States v. Wilson,
20      350 F. Supp. 2d 910 (D. Utah 2005).. . . . . . . . . . . . 8
21
22 FEDERAL STATUTES
23 18 U.S.C. § 3553(a)(6). . . . . . . . . . . . . . . . . . . . . 9
24
25 FEDERAL RULES
26 Fed. R. Crim. P. 11(c)(1)(C). . . . . . . . . . . . . . .              passim
27 Fed. R. Crim. P. 11(c)(3)(A). . . . . . . . . . . . . . . . . . 3
28 Fed. R. Crim. P. Rule 32(i)(3)(A).. . . . . . . . . . . . . . . 1

                                          ii
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 5 of 18 Page ID #:699



 1                        TABLE OF AUTHORITIES (Cont’d)
 2 UNITED STATES SENTENCING GUIDELINES                                   PAGE(S)
 3 U.S.S.G. § 5A (2009). . . . . . . . . . . . . . . . . . . . . . 6
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         iii
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 6 of 18 Page ID #:700



 1                                        I
 2                                  INTRODUCTION
 3         Defendant Michael Lynn Twyman ("Michael Twyman") is before
 4 the Court for sentencing after pleading guilty to counts ten and
 5 eleven of the Indictment in United States v. Charles Leroy
 6 Twyman, et al., Case No. CR No. 07-1142-VBF, each of which
 7 charges Use of a Communication Facility in Committing a Felony
 8 Drug Offense, in violation of Title 21, United States Code,
 9 Section 843(b).1
10         After lengthy negotiations with Michael Twyman, Charles
11 Leroy Twyman, and Anthony Dewawyn Twyman (collectively, "the
12 Twyman brothers"), Michael Twyman pleaded guilty to a plea
13 agreement pursuant to Federal Rule of Criminal Procedure
14 11(c)(1)(C).      In that plea agreement, the parties agreed that the
15 appropriate sentence for both of these cases is 96 months
16 imprisonment.
17                                        II
18                                      FACTS2
19         On March 10, 2006, Michael Twyman communicated with his
20 brother, Charles Leroy Twyman, over the telephone.             (PSR ¶ 12.)
21 During this telephone communication, the brothers discussed, in
22 coded language, Michael Twyman picking up cocaine base, in the
23
24         1
             The statutory maximum sentence that the Court can
   impose for each violation of Title 21, United States Code,
25 Section 843(b), is 4 years imprisonment, a 1-year period of
   supervised release, a fine of up to $250,000, and a mandatory
26 special assessment of $100.
27         2
             Except as otherwise noted, pursuant to
   Rule 32(i)(3)(A), the government respectfully requests the Court
28 accept the "undisputed portion[s] of the presentence report as a
   finding of fact."

                                          1
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 7 of 18 Page ID #:701



 1 form of crack cocaine ("crack cocaine"), that had been
 2 manufactured by Gerald Plaze Thomas ("Thomas").            (PSR ¶ 12.)
 3 Later that same day, Thomas delivered approximately 148 grams of
 4 crack cocaine to Michael Twyman.            (PSR ¶ 12.)
 5         On March 21, 2006, Michael Twyman again communicate with
 6 Charles Leroy Twyman over the telephone.            (PSR ¶ 13.)   During
 7 this telephone communication, the brothers discussed, in coded
 8 language, Michael Twyman delivering the crack cocaine that Thomas
 9 had previously delivered to Michael Twyman to Anthony Dewayne
10 Twyman.     (PSR ¶ 13.)
11         At all relevant times, Michael Twyman understood that he,
12 Charles Leroy Twyman, Gerald Plaze Thomas, and Anthony Dewayne
13 Twyman were conspiring to manufacture, possess with intent to
14 distribute, and distribute crack cocaine and the telephone calls
15 related to that conspiracy.         (PSR ¶ 14.)
16                                       III
17                 FACTUAL CORRECTIONS TO PRESENTENCE REPORT
18         The government does not have any factual corrections to the
19 Presentence Report.
20                                        IV
21                           SENTENCING RECOMMENDATION
22 A.      Legal Standard
23         When the government and a defendant enter into a plea
24 agreement where the government "agree[s] that a specific sentence
25 or sentencing range" should apply, that plea is governed by
26 Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure.               If
27 the plea agreement is governed by Rule 11(c)(1)(C), the court has
28 three options:       "the court may accept the agreement, reject it,


                                          2
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 8 of 18 Page ID #:702



 1 or defer a decision until the court has reviewed the presentence
 2 report."      Fed. R. Crim. P. 11(c)(3)(A); see Ellis v. United
 3 States Dist. Ct. for W.D. Wash., 356 F.3d 1198, 1206 (9th
 4 Cir. 2004) (en banc).        "Although the court is free to accept or
 5 reject the plea agreement, it may not do so on a piecemeal basis,
 6 and the Rule 11(c)(1)(C) stipulated sentence is binding upon the
 7 court's acceptance of the plea agreement."            United States v.
 8 Samueli, 575 F. Supp. 2d 1154, 1158 (C.D. Cal. 2008) (quoting In
 9 re Morgan, 506 F.3d 705, 709 (9th Cir. 2007)), dismissing appeal,
10 ___ F.3d ____, 2009 WL 3030381 (9th Cir. Sept. 24, 2009).
11 Further,
12
           [w]hen presented with a Rule 11(c)(1)(C) plea
13         agreement, it is not only permitted but expected that
           the court will take an active role in evaluating the
14         agreement. As the district court traditionally
           exercises broad discretion over all aspects of criminal
15         sentencing, whether to accept or reject a plea
           agreement containing a stipulated sentence is likewise
16         left to the sound discretion of the court.
17 Id. (quotations and citations omitted).
18         In evaluating a Rule 11(c)(1)(C) plea agreement, a court's
19 guiding principle must be "the interest of justice."             Id.   Thus,
20 a court may consider a number of factors including those
21 enumerated in Title 18, United States Code, Section 3553(a).               See
22 United States v. Garcia, 522 F.3d 855, 858 n.3 (9th Cir. 2008)
23 (noting that district court considered Section 3553(a) factors in
24 justifying stipulated sentence).           A court also may consider the
25 United States Sentencing Guidelines ("Sentencing Guidelines") and
26 use them to justify its sentence.          See United States v.
27 Cieslowski, 410 F.3d 353, 364 (7th Cir. 2005) ("[T]he court can
28 and should consult the Guidelines in deciding whether to accept


                                          3
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 9 of 18 Page ID #:703



 1 the plea.").      Cf. Garcia, 522 F.3d at 858 n.2 ("During
 2 sentencing, the district court acknowledged that its guidelines
 3 calculations 'appear[ed] academic because [the court] was going
 4 to accept the 11(c)(1)(C) plea agreement.'").            However, while
 5 there is a nexus between the Sentencing Guidelines and the plea,
 6 see United States v. Bride, 2008 WL 2782688, *2 (W.D. Wash.
 7 Jul. 14, 2008), aff'd, 581 F.3d 888 (9th Cir. 2009), "[a]
 8 sentence imposed under a Rule 11(c)(1)(C) plea arises directly
 9 from the agreement itself, not from the Guidelines.             As Booker is
10 concerned with sentencing arising under the Guidelines, it is
11 inapplicable in this situation."           Cieslowski, 410 F.3d at 364.
12 In other words, Rule 11(c)(1)(C) plea agreements are not based on
13 the Sentencing Guidelines and need not comport with them.
14 See United States v. Pacheco-Navarette, 432 F.3d 967, 971 (9th
15 Cir. 2005).
16 B.      Government's Recommendation
17         The plea agreement before the Court is the result of a
18 substantial investment of time and effort by the government.               The
19 government repeatedly met with counsel for the Twyman brothers
20 and negotiated plea agreements that held each brother accountable
21 for his criminal conduct and were fair and just.             When it
22 prepared the plea agreements, the government first determined the
23 applicable Sentencing Guidelines ranges and analyzed the Section
24 3553(a) factors, knowing that neither were controlling.              The
25 government then conducted "an individualized analysis of the
26 specific facts presented by the case . . . ."            Morgan, 506 F.3d
27 at 711 n.3.      After completing these analyses and discussing the
28 cases with defense counsel, the government prepared individual


                                          4
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 10 of 18 Page ID #:704



 1 plea agreements and presented them to the Twyman brothers.
 2         Based on its analysis of the facts of this specific case,
 3 the government believes that Michael Twyman's plea agreement is
 4 "in the interest of justice" and "complies with and advances the
 5 purpose of criminal sentencing as expressed by Congress."
 6 Samueli, 575 F. Supp. 2d at 1158-59.
 7         1.      Sentencing Guideline Calculation
 8         The government concurs with the offense level calculation in
 9 the PSR, which calculates a total offense level of 27.              (PSR ¶¶
10 25-34.)        The government also concurs with the Probation Office's
11 conclusion that a role adjustment is not appropriate.              (PSR ¶
12 26.)        By participating in a conspiracy to traffic crack cocaine,
13 Michael Twyman played an integral role that forecloses any
14 assertion that he had a minor or mitigating role.3             However,
15 because Michael Twyman's conduct did not rise to the level of an
16 organizer, leader, manager, or supervisor of others in the
17 offense, the government submits that an upward role adjustment is
18 not appropriate.
19         The government concurs with the criminal history calculation
20 provided in the PSR, which places Anthony Twyman in criminal
21 history category V.        (PSR ¶¶ 37-59.)
22
           3
             In his sentencing brief, Michael Twyman suggests that
23 if he was convicted of the conspiracy charge, he would be
   entitled to a 4-level downward adjustment because he was a
24 minimal participant. Although it is academic, the government
   would object to this downward adjustment. Michael Twyman played
25 an active role in the drug-trafficking activities of his brother.
   In his plea agreement, Michael Twyman acknowledged that he
26 received approximately 148 grams of crack cocaine from Thomas on
   March 10, 2006. (Plea Agreement, at ¶ 9.) Handling crack
27 cocaine and then freely discussing the drug with his brother
   hardly is minimal or minor participation. Accordingly, a
28 downward adjustment for a mitigating role would not be
   appropriate.

                                           5
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 11 of 18 Page ID #:705



 1         Based on an offense level of 27 and criminal history
 2 category of V, Michael Twyman's advisory Sentencing Guidelines
 3 range is 120 to 150 months imprisonment.            See U.S.S.G. § 5A
 4 (2009).       However, because the statutory maximum for the crimes of
 5 conviction are 4 years, the appropriate sentence under the
 6 Sentencing Guidelines is 96 months.
 7         2.    Section 3553(a) Factors
 8               a.    Nature and Circumstances of the Offense and
                       History and Characteristics of Defendant
 9
10         As detailed above and in the PSR, Michael Twyman was
11 involved in the distribution of approximately 148 grams of crack
12 cocaine.      By doing so, Michael Twyman participated in a
13 conspiracy that trafficking in one of the most dangerous drugs
14 available today.
15         As described in the PSR, Michael Twyman has had interactions
16 with law enforcement since he was 13 years old.             Those
17 interactions have resulted in the following adult felony
18 convictions:4
19         (1)   1982 California state felony conviction for Burglary,
20 Second Degree, for which he received 36 months probation with 180
21 days in county jail (PSR ¶ 37);
22         (2)   1985 California state felony conviction for Grand
23 Theft, for which he received 36 months probation with 15 days in
24 county jail (PSR ¶ 38);5
25
        4
             In addition to these felony convictions, the Court
26 should consider his other convictions and criminal conduct to
   determine whether to accept the Rule 11(c)(1)(C) plea agreement.
27
        5
             On October 8, 1987, the Los Angeles Superior Court
28 reduced this charge to a misdemeanor and set aside and dismissed
   the conviction pursuant to Section 1203.4 of the California Penal

                                           6
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 12 of 18 Page ID #:706



 1         (3)    1989 California state felony conviction for Possession
 2 of a Firearm by Felon or Addict, for which he received 36 months
 3 probation with 90 days in jail (PSR ¶ 39);
 4         (4)    1991 California state felony conviction for Possession
 5 of a Controlled Substance for Sale, for which he received 2 years
 6 in prison (PSR ¶ 40);
 7         (5)    1994 California state felony conviction for Possession
 8 of a Controlled Substance for Sale, for which he received a
 9 sentence of 2 years in prison (PSR ¶¶ 41-42);6
10         (6)    2000 California state felony conviction for Possession
11 of a Firearm by Felon or Addict, for which he received 16 months
12 in prison (PSR ¶¶ 46-47); and
13         (7)    2003 California state conviction for
14 Selling/Transporting of a Controlled Substance, for which he
15 received 4 years in prison (PSR ¶¶ 48-50).7
16         What is troubling about Michael Twyman's criminal history is
17 that he has not learned from his mistakes.            Even though he has
18 been convicted of drug-trafficking crimes three times, he
19 continues to traffic in dangerous drugs.            The low state sentences
20 do not appear to have any impact on Michael Twyman.
21         Given the above convictions and almost 35 years of
22 interactions with law enforcement enumerated in the PSR, a
23
     Code.     (PSR ¶ 38.)
24
           6
             This conviction is a controlled substance offense for
25 purposes of determining career offender status. See U.S.S.G.
   § 4B1.2(b) (2009). (PSR ¶ 43.)
26
        7
             This conviction is a controlled substance offense for
27 purposes of determining career offender status. See U.S.S.G.
   § 4B1.2(b) (2009). However, the Probation Office did not
28 consider this conviction because it was unable to obtain Michael
   Twyman's plea colloquy. (PSR ¶ 50.)

                                           7
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 13 of 18 Page ID #:707



 1 sentence of 96 months imprisonment is appropriate.             A 96-month
 2 sentence also reflects the nature and circumstances of the
 3 offense and the history and characteristics of Michael Twyman.
 4               b.    Need to Reflect the Seriousness of the Offense
 5         Participating in trafficking of approximately 148 grams of
 6 crack cocaine is a serious offense.           Thus, a sentence of 96
 7 months imprisonment reflects the seriousness of the offense.
 8               c.    Deterrence of Criminal Conduct
 9         As detailed above and in the PSR, Michael Twyman has been
10 convicted of seven felonies, but has served little time in jail
11 or prison.      Even lengthier sentences of four years in prison have
12 not deterred his continued criminal conduct.            The government
13 hopes that a sentence of 96 months will adequately deter Michael
14 Twyman and others from future criminal conduct.
15               d.    Need to Protect the Public
16         The public needs to be protected from convicted felons, like
17 Michael Twyman, who traffic in crack cocaine.             A sentence of 96
18 months imprisonment will protect the public and deter Michael
19 Twyman from future criminal conduct.
20               e.    Need to Provide Defendant with Education
21         The need to provide a defendant with education and
22 vocational skills, while important in most contexts, must be
23 placed in a subordinate position to the important considerations
24 of deterrence, protection of the public and the need for the
25 sentence to reflect the seriousness of the offense.              See United
26 States v. Wilson, 350 F. Supp. 2d 910, 921-22 (D. Utah 2005)
27 (noting that legislative history of Sentencing Reform Act
28 demonstrates that Congress intended to place rehabilitation as


                                           8
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 14 of 18 Page ID #:708



 1 secondary consideration where serious crimes involved).              Michael
 2 Twyman will have access to many programs in the prison system to
 3 which he can avail himself.         Neither the presence nor absence of
 4 any further educational programs should weigh heavily in this
 5 Court’s sentencing determination.
 6               f.    Need to Avoid Unwarranted Disparity in Sentences
 7         Finally, a sentence in accordance with the Sentencing
 8 Guidelines also properly accounts for “the need to avoid
 9 unwarranted sentence disparities among defendants with similar
10 records who have been found guilty of similar conduct.”              18
11 U.S.C. § 3553(a)(6).        Numerous courts have recognized that the
12 guidelines range serves as a bulwark against sentencing
13 disparity.      See United States v. Guerrero-Velasquez, 434 F.3d
14 1193, 1195 n.1 (9th Cir. 2006) (recognizing that guidelines “help
15 to maintain uniformity in sentencing throughout the country”);
16 United States v. Hunt, 459 F.3d 1180, 1184 (11th Cir. 2006) (“The
17 Guidelines . . . are an indispensable tool in helping courts
18 achieve Congress’s mandate to consider ‘the need to avoid
19 unwarranted sentence disparities’ among similarly situated
20 defendants.”) (quoting 18 U.S.C. § 3553(a)(6)); United States v.
21 Smith, 445 F.3d 1, 7 (1st Cir. 2006) (noting that “the guideline
22 range . . . is the principal means of complying with” the goal of
23 avoiding unwarranted sentencing disparity).
24         In this case, a sentence of 96 months of imprisonment is
25 fair and reasonable.        As set forth above, the sentence that was
26 negotiated at arms-length by the parties.            Based on his role in
27 trafficking drugs, the government agreed to let Michael Twyman
28 plead to two counts of Use of a Communication Facility in


                                           9
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 15 of 18 Page ID #:709



 1 Committing a Felony Drug Offense, rather than require that he
 2 plead to the conspiracy charge.          In fact, the government allowed
 3 three other similarly situated defendants (Anthony Dewayne
 4 Twyman, Gerald Plaze Thomas, and Anthony Quin Wheeler) to plead
 5 to counts of Use of a Communication Facility in Committing a
 6 Felony Drug Offense.8        This ensures that there will be no
 7 disparity between Michael Twyman's sentence and that of any
 8 similarly situated defendant, with respect to the drug-related
 9 charges.
10         3.      Other Factors to Consider
11         A 96-month sentence is the most the Court can impose for
12 Michael Twyman.        The government believes this sentence is
13 appropriate for the following two reasons.
14         First, the plea agreement allows Michael Twyman to plead
15 guilty to drug charges that do not carry mandatory minimum
16 sentences.        Count 1 of the Indictment (Case No. CR 07-1049-VBF)
17 alleges a conspiracy to manufacture, possess with intent to
18 distribute, and to distribute approximately 262 grams of cocaine
19 base.        This charge carries a 10-year mandatory term of
20
        8
             The Court has sentenced two of these defendants at or
21 near the top of the applicable Sentencing Guidelines range.
   Anthony Quin Wheeler pleaded guilty to one count of Use of a
22 Communication Facility in Committing a Felony Drug Offense. On
   May 1, 2009, this Court sentenced him to a 42-month term of
23 imprisonment. Gerald Plaze Thomas pleaded guilty to two counts
   of Use of a Communication Facility in Committing a Felony Drug
24 Offense. On February 18, 2009, this Court sentenced him to a 96-
   month term of imprisonment.
25
        Anthony Dewayne Twyman has pleaded guilty to two counts of
26 Use of a Communication Facility in Committing a Felony Drug
   Offense and one count of Possession of a Firearm by a Felon,
27 pursuant to a binding Rule 11(c)(1)(C) plea agreement. If the
   Court accepts his plea agreement, he will receive a 156-month
28 sentence (96 months for the telephone counts and 60 months for
   firearms count).

                                          10
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 16 of 18 Page ID #:710



 1 imprisonment.       However, because Michael Twyman has three prior
 2 felony drug convictions, he would have faced either a 20-year or
 3 mandatory life sentence if the government filed one or more of
 4 the Section 851 enhancements.          When Michael Twyman's potential
 5 20-year or life sentences is compared to the 96-month sentence in
 6 the plea agreement, there is no question that the negotiated
 7 sentence is reasonable.
 8         Second, the government crafted a sentence for Michael Twyman
 9 that was consistent with the sentences that his brothers would
10 receive.      Through negotiations with counsel, the government
11 determined that Michael Twyman's conduct was less egregious than
12 either of his brothers.         Accordingly, his sentence is less the
13 sentences his two brothers may expect to receive.
14 C.      Probation Office's Recommendation
15         In its recommendation letter, the Probation Office
16 recommends a 96-month sentence:          "This term consists of 48 months
17 on each of counts ten and eleven . . . all such terms to run
18 consecutively . . . ."         (Letter of Mairi Cervantes to Court,
19 dated 11/9/09 (Docket No. 180), at 1.)           The government agrees
20 with the Probation Office's recommendation and asks that the
21 Court accept the plea agreement and follow the recommendations of
22 the Probation Office and the parties.
23                                         V
24                                WAIVER OF APPEAL
25         In his plea agreement, Michael Twyman waived his right to
26 appeal this sentence, if the sentence is within the statutory
27 maximum and is constitutional, and the Court imposes the sentence
28 agreed to by the parties.         (Plea Agreement ¶ 20.)      Accordingly,


                                          11
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 17 of 18 Page ID #:711



 1 if the Court chooses to advise Michael Twyman of his limited
 2 appellate rights, the government respectfully requests that the
 3 Court note on the record that Michael Twyman has waived most of
 4 his appellate rights.
 5                                        VI
 6                                    CONCLUSION
 7         For the reasons set forth above, the government respectfully
 8 requests that the Court accept the plea agreement sentence
 9 Michael Lynn Twyman to a term of imprisonment of 96 months, a 1-
10 year term of supervised release, no fine, and a $200 special
11 assessment.
12
13 Dated: October 28, 2009         Respectfully submitted,
14                                 GEORGE S. CARDONA
                                   Acting United States Attorney
15
                                   CHRISTINE C. EWELL
16                                 Assistant United States Attorney
                                   Chief, Criminal Division
17
18                                 /s John J. Lulejian
                                   JOHN J. LULEJIAN
19                                 SHAWN J. NELSON
                                   Assistant United States Attorney
20                                 Violent & Organized Crime Section
21                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
22
23
24
25
26
27
28


                                          12
     Case 2:07-cr-01142-VBF Document 188 Filed 10/28/09 Page 18 of 18 Page ID #:712



 1                                    CERTIFICATE OF SERVICE
 2         I, JOHN J. LULEJIAN, declare:
 3         That I am a citizen of the United States and resident or employed in Los Angeles County,
 4 California; that my business address is the Office of United States Attorney, United States
 5 Courthouse, 312 North Spring Street, Los Angeles, California 90012; that I am over the age of
 6 eighteen years, and am not a party to the above-entitled action;
 7         That I am employed by the United States Attorney for the Central District of California
 8 and am a member of the Bar of the United States District Court for the Central District of
 9 California;
10         That on October 28, 2009, I served a copy of:
11         GOVERNMENT'S POSITION RE: PRESENTENCE REPORT
           AND SENTENCING FACTORS FOR DEFENDANT MICHAEL
12         LYNN TWYMAN
13 service was:
14 [X]     Placed in a closed                     [ ]     Placed in a sealed
           envelope, for collection                       envelope for collection and
15         and interoffice delivery                       mailing via United States Mail,
           addressed as follows:                          addressed as follows:
16
     [ ]   By hand delivery                       [ ]      By facsimile as follows:
17         addressed as follows:
18 [ ]     By messenger as follows:               [ ]     By federal express as follows:
19         USPO MAIRI CERVANTES
           U.S. Probation Office
20         600 U.S. Courthouse
           312 N. Spring Street
21         Los Angeles, CA 90012
22
           This Certificate is executed on October 28, 2008, at Los Angeles, California.
23
           I certify under penalty of perjury that the foregoing is true and correct.
24
25                                                        /s John J. Lulejian
                                                          John J. Lulejian
26                                                        Assistant United States Attorney
27
28


                                                     13
